Form dbtrclm (07/2013)

                                   UNITED STATES BANKRUPTCY COURT
                                        Western District of Washington
                                          700 Stewart St, Room 6301
                                              Seattle, WA 98101


In
Re:                                                         Case Number: 20−11870−TWD
       Nicholas Clifton Barnard                             Chapter: 7

       Debtor(s).


                    NOTICE OF FILING OF PROOF OF CLAIM BY DEBTOR OR TRUSTEE




TO: Benjamin Schwartz

The Debtor or Trustee in this case filed a proof of claim in your behalf, pursuant to Fed. R. Bankr. P. 3004.



Dated: March 16, 2021

                                                            Mark L. Hatcher
                                                            Clerk of the Bankruptcy Court




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